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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       BRYAN DAVID RANGE,                             )    Case. No. 5:20-CV-03488-GEKP
                                                      )
              Plaintiff,                              )
                                                      )
                      v.                              )
                                                      )
       JEFFREY A. ROSEN, Acting Attorney              )
       General of the United States, et al.,          )
                                                      )
              Defendants.                             )
                                                      )


             S EPARATE STATEMENT OF U NDISPUTED M ATERIAL F ACT IN S UPPORT OF
                        P LAINTIFF’S M OTION FOR SUMMARY J UDGMENT

Fact                                                       Evidence

1.     Bryan David Range, residing in Elizabethtown,       1.    Range Decl., ¶ 1.
       Lancaster County, Pennsylvania, presently
       intends to purchase and possess firearms for
       self-defense within his own home and for hunting.

2.     Range is over the age of 21, is not under           2.    Range Decl., ¶ 2.
       indictment, has never been convicted of
       a felony or misdemeanor crime of domestic
       violence, is not a fugitive from justice, is
       not an unlawful user of or addicted to any
       controlled substance, has not been
       adjudicated a mental defective or committed
       to a mental institution, has not been
       discharged from the Armed Forces under
       dishonorable conditions, has never
       renounced his citizenship, and has never
       been the subject of a restraining order
       relating to an intimate partner.
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Fact                                                         Evidence

3.     On August 8, 1995, Range was convicted by the         3.    Exh. A; Exh. B;
       Court of Common Pleas of Lancaster County,                  Range Decl., ¶ 3.
       Pennsylvania, of one count of 62 Pa. C.S. § 481(a),
       making a false statement to obtain $2,458 in food
       stamps/assistance, by not fully disclosing his
       income.

4.     Range’s offense was graded as a first degree          4.    Exh. B.
       misdemeanor.

5.     In Pennsylvania, a first degree misdemeanor is        5.    18 Pa. C.S. § 1104(1)
       punishable by up to five years’ imprisonment,
       but carries no mandatory minimum sentence.

6.     At the time of Range’s violation in January 1994,     6.    Range Decl., ¶ 4.
       he was earning approximately $9-$9.50 an hour
       mowing lawns, taking home approximately $300
       a week.

7.     Range and his then-wife were struggling               7.    Range Decl., ¶ 4.
       to raise three children—a three and a half year old
       and twin two-year olds—on this income. Range’s
       wife could not work as she was the children’s
       primary caregiver.

8.     Range’s wife had prepared the food stamp              8.    Range Decl., ¶ 5.
       application, which she and Range both signed.

9.     The application under-reported Range’s income.        9.    Range Decl., ¶ 5.

10.    Range does not recall reviewing the application,      10.   Range Decl., ¶ 5.
       but he accepted responsibility for signing it and
       acknowledged that it was wrong for him to
       receive additional food stamps without having
       fully disclosed his income.

11.    Accordingly, Range agreed to plead guilty to          11.   Range Decl., ¶¶ 5-6;
       violating 62 Pa. C.S. § 481(a). He was sentenced            Exh. A; Exh. B.
       to three years’ probation, which he successfully
       completed; and was assessed a $100 fine,
       $288.29 in costs and $2,458 in restitution,
       which he paid.



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Fact                                                        Evidence

12.    Range’s only other criminal history consists         12.   Range Decl., ¶ 7.
       of minor traffic and parking infractions, as
       well as a summary fishing offense in 2011
       when he could not produce a license while
       fishing at the Susquehanna River. Range erred
       in thinking that he had renewed his fishing
       license. He paid fines for not having the license
       when asked by the fishing officer, and for not
       having the license he claimed. The incident
       did not impact Range’s ability to fish.

13.    Range has never engaged in violence, nor has he      13.   Range Decl., ¶ 8.
       ever threatened anyone with violence.

14.    To the extent that Range has possessed firearms      14.   Range Decl., ¶ 8.
       and other weapons, he has always been careful
       to keep and use these responsibly.

15.    Range has always strived to comply with the law,     15.   Range Decl., ¶ 8.
       including weapons laws, which he has never
       knowingly violated.

16.    Range has been married for the past 18 years         16.   Range Decl., ¶ 9.
       to his second wife, with whom he has been
       together for the past 25 years.

17.    He has lived at the same address for the past        17.   Range Decl., ¶ 9.
       24 years.

18.    Range and his wife have successfully raised five     18.   Range Decl., ¶ 9.
       now-adult children.

19.    Range has been productively employed                 19.   Range Decl., ¶ 10.
       throughout his adult life. He is in his thirteenth
       year of employment as a machinist, prior to
       which he was self-employed as a painter for five
       years. Before then, was employed for ten years
       as a color technician for a printer.




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Fact                                                          Evidence

20.    Range was not represented by counsel during            20.   Range Decl., ¶ 11; Exh. A.
       his prosecution for violating 62 Pa. C.S. § 481(a).

21.    When Range pleaded guilty to violating 62 Pa.          21.   Range Decl., ¶ 12.
       C.S. § 481(a), he understood only that he was
       pleading guilty to a misdemeanor, for which
       he would receive probation, be fined, and
       ordered to make restitution.

22.    Range was not advised of the maximum potential         22.   Range Decl., ¶ 12.
       sentence, and he was not advised that the plea
       would cause him to be barred from possessing
       firearms.

23.    Not suspecting that he was barred from possessing      23.   Range Decl., ¶ 13.
       firearms, Range attempted to purchase a firearm,
       and was rejected by the instant background check
       system.

24.    Upon that rejection, a gun store employee reviewed     24.    Range Decl., ¶ 13.
       with Range a list of prohibiting offenses, none of
       which Range committed. The employee then
       advised Range that the rejection was a typical error
       and that Range should just retry at a later time.

25.    Years later, Range was again denied a firearms         25.   Range Decl., ¶ 13.
       purchase, and was again led to believe the rejection
       was a mistake as he had not committed any of the
       offenses that he was told were prohibiting.

26.    Range researched the matter further and was            26.   Range Decl., ¶ 14.
       surprised to learn that he was barred from
       possessing firearms on account of his public
       assistance conviction. He thus immediately
       disposed of the only firearm within his possession.

27.    Defendants instruct firearm dealers not to sell        27.   Answer, ¶ 17.
       firearms to prospective purchasers who state that
       they have been convicted of a felony or other
       offense punishable by imprisonment for over
       a year.




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Facts                                                          Evidence

28.     “Section 922(g)(1) is by far the most frequently       28.     Petition for a Writ of
        applied of Section 922(g)’s firearms                           Certiorari, Lynch v.
        disqualifications, forming the basis for thousands             Binderup, U.S. Supreme Ct.
        of criminal prosecutions and tens of thousands of              No. 16-847, at 23 (citing
        firearm-purchase denials each year.”                           U.S. Sent. Comm’n, Quick
                                                                       Facts: Felon in Possession of
                                                                       a Firearm (July 2016), http://
                                                                       www.ussc.gov/sites/default/
                                                                       files/pdf/research-and-publicat
                                                                       ions/quick-facts/Quick_Facts_
                                                                       Felon_in_Possession_FY15).

29.     Range refrains from obtaining a firearm only           29.     Range Decl., ¶ 15.
        firearm only because he reasonably fears arrest,
        prosecution, incarceration and fine, under
        18 U.S.C. § 922(g)(1), instigated and directed
        by Defendants, should he follow through with
        his plan to obtain a firearm.

30.     Range suffers the on-going harm of                     30.     Range Decl., ¶ 15.
        being unable to obtain firearms,
        which he would, in fact, obtain but
        for Defendants’ enforcement of
        Section 922(g)(1).


        Dated: January 15, 2021                        Respectfully submitted,

 By: /s/ Alan Gura                             By:     /s/ Michael P. Gottlieb
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